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UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT

JANET JENKINS, ef al., )
Plaintiffs )

)

v. ) Docket No. 2:12-cv-184

)

KENNETH L. MILLER, et al., )
Defendants )

DEFENDANT PHILIP ZODHIATES, VICTORIA HYDEN AND
RESPONSE UNLIMITED, INC.’S SUPPLEMENTAL MEMORANDUM

Defendants Philip Zodhiates, Victoria Hyden and Response Unlimited, Inc. (““RUL”)
(collectively “Defendants”), respectfully submit this supplemental memorandum in support of

their motion to stay.

Memorandum

On March 16, 2015, the Court held a hearing on the pending motion to stay, which seeks
a stay of this action in favor of parallel criminal proceedings currently ongoing in the United
States District Court for the Western District of New York. During the hearing, the Court
proposed a potential resolution of the motion, which Defendants understand to be: (1) that RUL
respond to Plaintiffs’ currently outstanding discovery requests by producing to Plaintiffs only
those documents that it has already produced to the Government; and (2) that this action then be
stayed pending the resolution of the parallel criminal proceedings. Defendants requested an

opportunity to consider the Court’s proposal and respond by March 23, 2015.

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Defendants write now to respectfully request that the Court implement its proposal by
entering the attached proposed protective order. The proposed order would result in RUL
promptly producing to Plaintiffs those documents it has previously produced to the Government
in response to grand jury subpoenas. At the time of the hearing, the Government had served a
third grand jury subpoena, dated December 4, 2014, which RUL and Mr. Zodhiates had moved
to quash. The motion to quash was subsequently denied and the proposed order would also
result in RUL producing documents responsive to Plaintiffs’ requests that it produces in response
to the December 4, 2014 subpoena. The proposed order would then provide for a stay of this
action pending the resolution of United States v. Miller, No. 14-cr-175-RJA-JJM (W.D.N.Y.),
the parallel proceeding in which Mr. Zodhiates has been indicted. Defendants have conferred
with Plaintiffs, and after reaching agreement on several issues, arrived at an impasse regarding
the proposed protective order. See Declaration of David A. Boyd, Exhibits A-D. More
specifically, Plaintiffs are unwilling to agree to a protective order that would limit the use of
discovery produced in this action to this action. /d., Exhibits B-D.

“A party generally cannot use discovery for purposes unrelated to the lawsuit,” in which
it is taken. Moore’s Federal Practice § 26.101[1][b]. Plaintiffs have stated that they oppose a
protective order because Janet Jenkins will likely be a witness in the parallel criminal matter and
“will have to communicate with the Government” accordingly. Boyd Declaration Exhibit B.
This argument does not weigh against the proposed order because the Government is not a party
to this case and a protective order would not impact what information it can, and cannot, share
with Ms. Jenkins if it calls her as a witness in the criminal matter.

The use of discovery from this action outside of this action is one of the primary reasons

Defendants moved for a stay. See Motion, Docket No. 172 at 3-4; Reply, Docket No. 176 at 2-3:

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Supplemental Submission, Docket No. 185 at 2-4. A protective order limiting the use of
discovery is appropriate here for the same constitutional and pragmatic reasons weighing in
favor of a stay. See, e.g. United States v. 4003-4005 5” Ave., 55 F.3d 78, 83, n. 4, 84, n.6 (2d
Cir. 1995) (explaining that a court “must explore the feasibility and fairness” of accommodations
such as a stay or the entry of a protective order where a party validly invokes the Fifth
Amendment); In re Grand Jury Subpoena Deuces Tecum, 945 F.2d 1221, 1222-1226 (2d Cir.
1991) (applying Martindell v. International Telephone & Telegraph Corp., 594 F.2d 291 (2d Cir.
1979) to a grand jury subpoena seeking discovery from a civil action after observing that counsel
for defendants in the civil action had expressly indicated “that they would not voluntarily
produce documents or witnesses unless the information obtained would be . . . used only” in the
civil action).

For the foregoing reasons, Defendants respectfully request that the Court implement its
proposal and stay this action by entering the enclosed proposed order.

Dated: Burlington, Vermont
March 23, 2015

/s/ David A. Boyd

Robert B. Hemley, Esq.

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